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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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In re:                                                             Chapter 11

          APPVION, INC., et al., 1                                 Case No. 17-12082 (KJC)

          Debtors.                                                 (Jointly Administered)

                                                                   Related D.I.: 631 & 667
---------------------------------------------------------------x
   ORDER UNDER 11 U.S.C. § 1121(d) FURTHER EXTENDING THE EXCLUSIVITY
             PERIODS FOR THE FILING AND SOLICITATION
               OF ACCEPTANCES OF A CHAPTER 11 PLAN

          Upon the motion (the "Motion")2 of the above-captioned debtors (collectively, the

"Debtors") for entry of an order under section 1121 (d) of title 11 of the United States Code (the

"Bankruptcy Code") further extending the period during which the Debtors have the exclusive

right to file a chapter 11 plan to May 29, 2018, and further extending the period during which the

Debtors may solicit acceptances of a chapter 11 plan to July 27, 2018; the Court having reviewed

the Motion; the Court having found that (i) the Court has jurisdiction over this matter under 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012, (ii) venue is proper in this

district under 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding under 28 U.S.C. §

157(b), (iv) service and notice of the Motion was sufficient under the circumstances, and (v)




          The Debtors in these chapter I I cases, along with the last four digits of each Debtor' s federal tax
identification number, are: Appvion, Inc. (6469), Paperweight Development Corp. (4992), PDC Capital Corporation
(1197), Appvion Receivab les Funding I LLC (9218), and APVN Holdings LLC (8543). The corporate headquarters
and the mailing address for the Debtors li sted above is 825 East Wisconsin Avenue, P.O. Box 359, Appleton,
Wisconsin 54912.

          Capitalized terms not otherwise defined shall have the meanings given to them in the Motion.



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good and sufficient cause having been shown, and after due deliberation and sufficient cause

appearing,

         IT IS HEREBY ORDERED THAT:

         1.          The Motion is GRANTED, as set forth herein.

         2.          The Debtors' Exclusive Filing Period under section 1121(b) of the Bankruptcy

Code is further extended through and including May 29, 2018.

         3.          The Debtors ' Exclusive Solicitation Period under section 1121(c)(3) of the

Bankruptcy Code is further extended through and including July 27, 2018.

         4.          The extension of exclusivity granted herein is without prejudice to further

requests that may be made under section 112l(d) of the Bankruptcy Code.

         5.         The Court shall retain jurisdiction over all matters arising from or related to the

interpretation or implementation of this order.


Dated:     4P~       18
                     IL        , 2018
          Wilmington, Delaware




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